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Western I)istrict of ennessee

United States of America

A“\€'N dev
ORDER SETTING CONDITIONS
V. OF RELEASE
ANTONIO STACKER Case Nuniber: 2:04cr20501

 

Defendant
IT IS ORDERED that the release of the defendant is subject to the following conditions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

(2) The defendant shall immediately advise the court, defense counsel and the U.S. attorn

ey in writing before any change in
address and telephone number

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

directed The defendant shall appear at (ifblank, to be notified) _S§A& C!("\m`u\§i ?\s>"'&'\'lQ/\ CUCN:JZv-¢`

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Date and Tirne

Release on Personal Recognizance or Unsecured Bond

IT IS FURTHER ORDERED that the defendant be released provided that:

( t/ ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.

( )(5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

dollars ($ )
f any sentence imposed

 

in the event of a failure to appear as required or to surrender as directed for service o

This document entered on the docket sheet |ri compliance
/ /
with Rule 55 and!or 32{b) FHCrP on 0

DlSTRlBUTlON: COURT DEFENDANT PRETRIAL SERVICES U.S. ATTORNEY U.S, MARSHAL

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Additional Conditinns of Release

Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other persons and the
community
lT IS FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:
( ) (6) The defendant is placed in the custody of:
(Name of person or organization)
(Address)
(City and state) (Tel. No.)
who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure the appearance o_f the defendant at all scheduled court
proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions ofrelease or disappears.

 

 

 

Signed:

 

Custodian or Proxy Date

( /)(7) 'l`hc defendant shall:

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telephone number E“ ] \ -E\q& -`§SO , not later than _

execute a bond or an agreement to forfeit upon failing to appear as required the following sum of money or designated property:

 

 

post with the court the following indicia of ownership ofthe above-described property, or the following amount or percentage ofthe above-described

 

execute a bail bond with solvent sureties in the amount ofS
maintain or actively seek employment
maintain or commence an education program.
surrender any passport to:
obtain no passport
abide by the following restrictions on personal association, place ofabode, or travel:
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avoid all contaet, directly or indirectly, with any persons who are or who may become a victim or potential witness in the subject investigation or
prosecution, including but not limited to:

 

 

 

undergo medical or psychiatric treatment and/or remain in an institution as follows:

 

 

return to custody each (week) day as of o’clock after being released each (week) day as of o’clock for employment,
schooling, or the following limited purpose(s):

 

mainurin residence ata halfway house or community corrections center, as deemed necessary by the pretrial services office or supervising officer.

refrain from possessing a firearm, destructive device, or other dangerous weaponsl

refrain from ( ) any ( ) excessive use of alcohol

refrain from use or unlawful possession ofa narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical

practitioner.

submit to any method oftesting required by the pretrial services office or the supervising officer for determining whether the defendant is using a prohibited

substance Such methods may be used with random frequency and include urine testing, the wearing ofa sweat patch, a remote alcohol testing system, and/or

any form of prohibited substance screening or testing.

participate in a program ofinpatient or outpatient substance abuse therapy and counseling if deemed advisable by the pretrial services office or supervising

officer.

refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of any prohibited subsuince testing or electronic

monitoring which is (are) required as a eondition(s) of release

participate in one of the following home confinement program components and abide by all the requirements of the program which ( -/fwill or

( ) will not include electronic monitoring or other location verification system. You shall pay all or part ofthe cost ofthe program based upon your ability

to pay as determined by the pretrial services office or supervising officer.

( ) (i) Curl'ew. You are restricted to your residence every day ( ) from to , or ( ) as directed by the pretrial
services office or supervising officer; or

( V)' (ii) Hnme Detention. You are restricted to your residence at all times except for employment; education; religious services; medical, substance abuse,
or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities as pre-approved by the pretrial services
office or supervising officer; or

( ) (iii) Home Incarceration. You are restricted to your residence at all times except for medical needs or treatment religious services, and court
appearances pre-approved by the pretrial services office or supervising officer.

report as soon as possible, to the pretrial services office or supervising officer any contact with any law enforcement personnel_, including, but not limited

to, any arrest, questioning, or traffic stop.

 

 

 

 

 

 

D]STRlBU'l`ION: COURT DEFENDANT PRETRIAL SERVICES U.S. ATTORNEY U.S. MARSHAL

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Advice of Penalties and Sanctions

 

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both.

The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment
of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
investigation It is a crime punishable by up to ten years of imprisonment, and a $250,(}00 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious
if they involve a killing or attempted killingl

lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined

not more than 3250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgmeut of Del`endant

l acknowledge that l arn the defendant in this case and that I am aware of the conditions of release. l promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed l am aware of the penalties and sanctions set forth

Signature of Defendant

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Address

nip/a 776 C?d/) ?47» /7¢!‘?

City and State Telephone

Directions to United States Marshal

( _) The defendant is ORDERED released after processing
The United States marshal is OR_DERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond andjor complied with all other conditions for release 'I`he defendant shall be produced before the appropriate

judge at the time and place specified, if still in custody.
/ w
Date: 00 d
f ignature of Judicial Offrcer

`Suto e-e BFeNic¢-' B. commit
Name and Title of Judicial Officer

 

DISTRIBUTION: COURT DEFENDAN'I` PRETRIAL SERV|CE U.S. ATTORNEY U.S. MARSHAL

   

UNITED sATE isTRiCT COURT - WTERN DISRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CR-20501 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

Katrina U. Earley

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Honorable Bernice Donald
US DISTRICT COURT

